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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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   LAKESIDE FOR CHILDREN d/b/a LAKESIDE
ACADEMY; LAKESIDE ACADEMY; SEQUEL YOUTH
  SERVICES OF MICHIGAN, LLC.,; SEQUEL TSI
           HOLDINGS, LLC., et al.

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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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           HOLDINGS, LLC., et al.

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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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           HOLDINGS, LLC., et al.

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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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ACADEMY; LAKESIDE ACADEMY; SEQUEL YOUTH
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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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                                                                                                          72 Lakeside Academy
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   LAKESIDE FOR CHILDREN d/b/a LAKESIDE
ACADEMY; LAKESIDE ACADEMY; SEQUEL YOUTH
  SERVICES OF MICHIGAN, LLC.,; SEQUEL TSI
           HOLDINGS, LLC., et al.

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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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   LAKESIDE FOR CHILDREN d/b/a LAKESIDE
ACADEMY; LAKESIDE ACADEMY; SEQUEL YOUTH
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           HOLDINGS, LLC., et al.

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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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   LAKESIDE FOR CHILDREN d/b/a LAKESIDE
ACADEMY; LAKESIDE ACADEMY; SEQUEL YOUTH
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           HOLDINGS, LLC., et al.

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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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                                                                                                          72 Sequel TSI Holding, LLC.
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   LAKESIDE FOR CHILDREN d/b/a LAKESIDE
ACADEMY; LAKESIDE ACADEMY; SEQUEL YOUTH
  SERVICES OF MICHIGAN, LLC.,; SEQUEL TSI
           HOLDINGS, LLC., et al.

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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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                                                                                                          72 Sequel Youth and Family Services, LLC.
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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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   LAKESIDE FOR CHILDREN d/b/a LAKESIDE
ACADEMY; LAKESIDE ACADEMY; SEQUEL YOUTH
  SERVICES OF MICHIGAN, LLC.,; SEQUEL TSI
           HOLDINGS, LLC., et al.

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                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
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                                                              ECF                                 No. 3, PageID.64 Filed 10/04/21 Page 17 of 17

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
TENIA GOSHAY, as Personal Representative of the
ESTATE OF CORNELIUS FREDERICK, deceased                                                                                               &DVH1R 1:21-cv-00848
                                                                                                                                      +RQ Robert J. Jonker
                                                                                                          72 Zachary Solis
                                          Y
                                                                                                     $''5(66
   LAKESIDE FOR CHILDREN d/b/a LAKESIDE
ACADEMY; LAKESIDE ACADEMY; SEQUEL YOUTH
  SERVICES OF MICHIGAN, LLC.,; SEQUEL TSI
           HOLDINGS, LLC., et al.

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                                                                                                                       19390 West Ten Mile Road
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